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_ UNITED STATES 'DISTRICT COURT

DISTRICT OF ARIZONA
MICHAEL J_ BROSNAHAN, No. CV-l6-08277-PCT-DLR
Plaintiff,
JUDICIAL NOTICE

V.

CALIBER HOME LOANS, INC., LSF9
MASTER PARTICIPATION TRUST,
AND SUl\/IMIT 'SERVICE AND
REALTY LLC

AND/OR Real Party(S) In Interest: (Honorable Douglas L. Rayes)
Defendants.

 

 

 

Plaintiff Michael J. Brosnahan, Consumer, appearing pro se, Objects to the Order
and Motion to Dismiss With Prejudice, March l4, 2018. The Order is punitive and is an
attempt to rewrite history by ignoring facts and concealing evidence before this Federal
Court. f

Plaintiff Michael J. Brosnahan, Consurner, appearing pro se, Original lurisdiction,
Federal Question 28 U.S.C. § 1331. Consumer submitted into evidence a Valid TILA
rescission letter dated May 15, 2009, that memorialized this Event. This letter Was in fact
effective by operation of law upon delivery or mailing This clearly demonstrated to the

Court that the Defendants knowingly violated the FDCPA and Willfully broke other

Federal Consumer Protection LaWs. In accordance With Federal Lavv and in compliance

 

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with the TILA Rescission Statutes, Plaintiffs Consumer Debt is unenforceable

Consumer has diligently and consistently acted in good faith and lawfully noticed
the F ederal Court, all relevant Authorities, Agencies and Defendants' jointly or separately
to enforce his Consumer Rights since January 2009.

Mr. Brosnahan, although not schooled in law, is still entitled to a fair and
meaningful hearing under the United States of America Constitution Article III section II,
the right sought to be protected herein are secured by the United States of America
Constitution by Acts of Congress, and federal common law and the Supremacy Clause of
the United States Constitution, Article VI, paragraph 2.

The bias of this Court is clear as the Honorable Douglas L. Rayes, Judge, held Pro
Se Consumer Plaintiff, who is not schooled in law, to a higher standard than Defendants
Caliber Home Loans, lnc., LSF9 Master Participation Trust, and Summit Service and
Realty LLC (collectively “Defendants”). Defendants and Defendant's attorneys were
allowed to, including but not limited, break Federal Consumer Protection Laws, Violate
FRCP, use false, forged and fabricated documents and file false affidavits, with impunity.

This Court allowed Debt Collector Defendants and Defendant's attorneys to
knowingly, intelligently, willfully and with malice aforethought, to commit fraud upon
this Court, this Consumer Plaintiff, the State of Arizona, the body politic of Arizona and
the United States of America.

This Court allowed an Abuse Of Process by Defendants‘ in an attempt to have this
F ederal Court pre-litigate and rubber-stamp the Defendant'S malfeasance with a pre-trail
motion that would cause Irreparable Harm to Consumer Plaintiff and violates the
Plaintiffs Constitutional Rights. Our Federal Court should not be collection agencies for
criminals and Mr. Brosnahan Will be appealing the Court decision.

RESPECTFULLY SUBMITTED: This 6th Day of April, 20 8.

BY /// / ')/:/_ //J/ag;lt

Consumer Claimarft mael J Brosnahan,
Si$icerely and'signed without prejudice,

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CERTIFICATE OF SERVICE

CERTIFICATE GF SERVICE
ORIGINAL and COPY of the foregoing
Delivered and Filed with the Clerk of the
Court,

This 06th Day Of Aprn, 2018,

The Honorable Douglas L. Rayes
UNITED STATES DISTRICT COURT

» -FOR THE DISTRICT OF ARIZONA

Conforrned COPY of the foregoing
Perkins Coie LLP

Brian C. Lake

Kendra L. Haar

2901 North Central Avenue, Suite 2000
Phoenix, Arizona 85012-2788
Attorneys for Defendants Caliber Home
Loans, LSF9 Master Participation Trust,
and Summit Services and Realty LLC

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